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June 28, 2023

VIA ECF

The Honorable Richard M. Gergel
U.S. District Judge
District of South Carolina
P. O. Box 835
Charleston, SC 29402

       RE:       Nautilus Insurance Company v. Richard Alexander Murdaugh, Sr., et al.
                 No. 2:22-cv-1307-RMG

Dear Judge Gergel:

I write on behalf of counsel for Palmetto State Bank (“PSB”) and Nautilus Insurance
Company (“Nautilus”).

PSB and Nautilus have agreed that the 30(b)(6) deposition of PSB scheduled for Friday, June
30 will go forward, subject to the following. To the extent PSB believes a question
implicates a topic or time-period that it has objected to in its Motion for a Protective Order,
the witness may be instructed not to answer without the need for the filing for a separate
protective order after the deposition. Then, should the Court deny PSB’s Motion for a
Protective Order in any part, the parties would reconvene the deposition to address those
topics.

We wanted the Court to be aware of this agreement so it knows that an immediate ruling on
the Motion for a Protective Order is not necessary.

With thanks and kindest regards,

EPTING & RANNIK, LLC



Jaan G. Rannik
JGR/agg

cc:    All counsel of record (via ECF)


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